                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                AT ASHEVILLE



THE ESTATE OF JAI LATEEN' SOLVEIG WILLIAMS                          )
     PI 'kind ff,                                                   )
                                                                    )
v.                                                 ) No.
                                              ) JURY DEMAND
SERGEANT KELLY TYLER RADFORD,                 )
TAMMY HOOPER, IN HER OFFICIAL CAPACITY        )
AS THE POLICE CHIEF FOR THE CITY OF ASHEVILLE )
NORTH CAROLINA and                            )
CITY OF ASHEVILLE NORTH CAROLINA              )
     Defendants,                             )


                                         COMPIAINT


       NOW COMES the Plaintiff and for cause of action would state as follows:

                                     I. INTRODUCTION

       This action arises under federal law, specifically, 42 U.S.C. §§1983; under North

Carolina General Statutes § 28A-1 8-I et seq. (wrongful death and survivorship).

       While the individual Defendant was acting in the scope of his employment and under

color of state law, he used excessive force causing the death of Jai Lateef Solveig Williams.

        Action is also brought pursuant to N, C. Gen, Stat. §58-76-5 against the City of

Asheville and The Asheville Po/ice Department for their failure to properly train and supervise

Kelly Tyler Radford in the proper use of force and techniques, and for its establishment of

policies, procedures, practices, and customs regarding arrests by use of excessive use of force.




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                                    TI. .IURLSDIC           AND VENUE

        1.       This court has jurisdiction over the subject mailer of this action pursuant to 28

U,S,C. §§1331, 1332, 1343, and 1367, and venue is properly set in the United States District

Court for the Western District of North Carolina pursuant to 28 U.S.C. §1391,

        2.       The causes of action alleged herein arise from factual allegations occurring in this

judicial district.

        3.       On information and belief, it is alleged that each of the named Defendants reside

in this judicial district


        4.       The amount in controversy is in excess of $75,000.00.

                                           Ill. PARTIES

                                            A. Plaintiffs

        6,       The Plaintiff, Najiyyah Avery, is bringing this action in her capacity as the

duly-appointed administratrix of the Estate of Jai Lateef Solveig Williams, Jai Lateef Solveig

Williams died on July 2, 2016 in Buncombe County, North Carolina,

                                            B. &Wilk Defendants

        7,       The Defendant, KELLY TYLER RADFORD, is a citizen and resident of North

Carolina, and was at all times material to the allegations in this Complaint, acting in his capacity

as a Police Officer employed by the City of Asheville, North Carolina and was acting under

color of state law.

        8.     The Defendant, TAMMY HOOPER, is a citizen and resident of Asheville, North

Carolina and was at all times material to the allegations in this Complaint, employed as the Chief

of Police by the Asheville Police Department in Buncombe County, North Carolina, and is


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responsible for the supervision and training of the Defendant, Kelly Tyler Radford, as the Chief

of the Asheville Police Department, and is further responsible for making and/or implementing

policies and practices used by law enforcement officers employed by the City of Asheville,

North Carolina and the Asheville Police Department,

        9.    The Defendant, CITY OF ASHEVILLE, is a political subdivision of the State of

North Carolina, for which Defendant, Kelly Tyler Radford, serves as police officer, and Tammy

Hooper serves as Chief of Police. The City of Asheville is the political subdivision of the State

of North Carolina responsible for the training and supervision of Defendant, Kelly Tyler

Radford. City of Asheville has established or delegated to Defendant, Tammy Hooper, the

responsibility for establishing and implementing policies, practices, procedures, and customs

used by law enforcement officers employed by City of Asheville and the Asheville Police

Department

                                          IV. FACTS

       10.     On July 2, 2016 at approximately 7:01pm EDT, the victim, hi Lateef Solveig

Williams was shot multiple times by Asheville North Carolina Police Sergeant Kelly Tyler

Radford in the City of Asheville, North Carolina.

       11.     On or about July 2, 2016, Jai Later Solveig Williams suffered significant trauma

to his body, including the loss of a hand due to sustaining multiple gunshot wounds to his body.

       12,     On July 2, 2016, Jai Lateef Solveig Williams was declared dead at 7: 12 p.m.

       13.    Upon information and belief, Asheville's Police Department's Professional

Standards Division conducted an administrative investigation to determine if its policies and




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procedures were followed concerning the shooting involving Sergeant Kelly Tyler Radford and

Jai Lateef Solveig Williams,

        14.     Upon information and belief, witness(es) indicated Jai Latccf Solveig Williams

was engaged in a verbal and physical altercation with a female but he stopped, faced the police

officer and put his hands in the air. According to the witness(es), Jai Lateef Solvieg Williams

surrendered, but he was still shot at least six times.

        15.     On or about July 5, 2016, defendant, Kelly Tyler Radford stated he could not

remember the number of times he fired his weapon or remember Jai Lateef Solveig Williams

falling to the ground.

       16.     Upon information and belief, a less extreme measures could have and should been

implemented in attempts to take Jai Lateef Solveig into custody. however, upon information

and belief, a Colt M4 Carbine, caliber 5.56 rifle was used during the encounter with Jai Lateef

Solveig Williams instead of a department issued pistol during the encounter with Jai Lateef

Solveig, which ultimately caused significant trauma to the body of Jai Lateef Solveig Williams

and ultimately caused his death.

       17,     On November 4, 2016, The Office of the Chief Medical Examiner for the City of

Asheville concluded the cause of death for Jai Lateef Solveig was "multiple gunshot wounds of

the head, chest, abdomen and extremities," from the Colt M4 Carbine rifle.

       18. Defendant Kelly Tyler Radford used excessive force during the encounter with Jai

Latccf Solveig Williams when he failed to observe that Jai Lateef Solveig Williams was

surrendering and instead shot him at least six to eight times with a Colt M4 Carbine, caliber 5.56




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rile, while at the same time tailing to be cognizant of his actions and department policies and

procedures in discharging his weapon.

       19.      Defendant, Kelly Tyler Radford did not have adequate training regarding the liNe

of reasonable force andlor failed to adhere to polices and procedures implemented by the

Asheville Police department.

       20.      Defendants, Asheville Police Department and Tammy Hooper failed to properly

train Sergeant Kelly Tyler Radford and implement policies and procedures regarding the use of

reasonable force and non-use of excessive force when interacting with the public during a

confrontational encounter.

       21.     As a direct and proximate result of the acts of Defendant(s), excessive force was

used during the encounter between Sergeant Kelly Tyler Radtbrd and Jai Lateef Solveig

Williams, with said force causing the death of Jai Lateef Solveig Williams,


                                 V. CAUSES OF ACTION

                                           COUNT I

                 Violation of Civil Rights Pursuant to Title 42 U.S.C. §l983
                                      (General Allegations)
       22.     Plaintiffs reallege and incorporate herein by reference the allegations set forth in

paragraphs 1-21 of this Complaint.

       2.3.    As a direct and proximate result of the violation of Jai Lateef Solveig Williams

constitutional rights and the use of excessive force by the Defendants, Jai Lateef Solveig

Williams was killed on July 2, 2016 and therefore suffered general damages as alleged in this

Complaint and is entitled to reliefunder 42 §1983.




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                                              Olc,TNT II
                      Violation of Civil Rights Pursuant to Title 42 U.S.C. §1983
                 (Failure to Implement Appropriate Policies, Customs and Practices)

        24.     Plaintiffs reallcgc and incorporate herein by reference the allegations set forth in

paragraphs 1-22 of this Complaint    .




        25_    Defendant Tammy Hooper, in her capacity as Chief of Police of the Asheville

Police Department in Buncombe County, North Carolina, and the Defendant, City of Asheville,

implicitly or explicitly adopted and implemented a policy, custom, or practice of allowing

employees of the Asheville Police Department to confront the general public in confrontational

encounters with the use of excessive force where less severe alternatives existed.

       26.     The failure of the Chief of Police, Tammy Hooper, and the City of Asheville to

adequately train and supervise the Defendant Sergeant Kelly Tyler Radford resulted in an

encounter between Sergeant Kelly Tyler Radford and Jai Lateef Solveig Williams that concluded

with the death of Jai Lateef Solveig Williams..

       27.     As a result, Jai Lateef Solveig Williams suffered personal injuries and loss of life

and is therefore entitled to relief under 42 U.S.C. §1983.
                                .




                                             COUNT SIR
                     Violation of Civil Rights Pursuant to Title 42 U.        §I983
                                       (Use of Excessive Force)

       28.     Plaintiffs reallege and incorporate herein by reference the allegations set forth in

paragraphs 1-23 of this Complaint.

       29.     The Defendant, City of Asheville, North Carolina, has adopted policies,

procedures, practices or customs within the Asheville Police Department that allow, among other




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things, the use of excessive force when other more reasonable and less drastic methods are

available during confrontational interactions with the public.

       30.    As a result of the deliberate indifference to the Jai Lateef Solveig Williams' rights
by the City of Asheville, North Carolina and its agents, servants and employees, Jai Lateef
Solveig Williams is entitled to relief under 42 U. .C. §1983.

                                                   COUNT IV
                                            North Carolina Negligence
                                         N. C. Gen Stat, §28A-18-1 et seq.
                                        (Wrongful death and survivorship)

       31.     Plaintiffs reallege and incorporate herein by reference the allegations set forth in

paragraphs 1-24 of this Complaint.

       32.     Each Defendant owed Plaintiff a duty to use due care at or about the times of the

aforementioned incident.

       33.     In committing the aforementioned acts endior omissions, each Defendant

negligently breached said duty to use due care, which directly and proximately resulted in the

injuries and damages to the Plaintiffs as alleged herein.

                                                 COUNT1
                                      N.  C. Gen, Stat, 08-76-5 et seq.
                                  Violation of Duties Under Official] Bond

       34.     Plaintiffs reallege and incorporate herein by reference the allegations set forth in

paragraphs 1-25 of this Complaint.

       35, N, C. Gen. Stat. §58-76-5 provides

               Every person injured by the neglect, misconduct or misbehavior in office of any

                   or other officer may institute a suit or suits against said officer or any of them

               and their sureties upon their respective bonds for the due performance of heir duties In
               office...and every sit officer and the sureties on the officer's official bond shall be
               liable to the person injured for all acts done by s aid officer by virtue or under color of
               that officer's office.



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                                      s/George D. Pappas
                                      ___________________________
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